USCA Case #20-1138               Document #1935310              Filed: 02/15/2022      Page 1 of 1



                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 20-1025                                                      September Term, 2021
                                                                                    FCC-19-126
                                                             Filed On: February 15, 2022
Environmental Health Trust, et al.,

                  Petitioners

         v.

Federal Communications Commission and
United States of America,

                  Respondents


------------------------------

Consolidated with 20-1138


         BEFORE:           Henderson, Millett, and Wilkins, Circuit Judges

                                              ORDER

       Upon consideration of the joint motion of petitioners in case No. 20-1025 for
attorneys’ fees and expenses under the federal Equal Access to Justice Act and the
opposed application by motion of petitioner Children’s Health Defense for attorneys’
fees under the Equal Access to Justice Act in case No. 20-1138, the opposition to both
motions, and the replies, including the supplemental request for fees by petitioners in
No. 20-1025, it is

         ORDERED that the motions and the supplemental request be denied.

                                             Per Curiam

                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                       BY:     /s/
                                                               Anya Karaman
                                                               Deputy Clerk
